AO 24SC             Case:AmendedJudgmentin
                (Rev.09/11) 1:12-cr-00043-MRB          Doc
                                           a Criminal Case           #: 262 Filed: 06/23/14 Page: 1 of 7 (NOTE:
                                                                                                          PAGEIDIdentify#: 2303
                                                                                                                         Changes withAsterisks (•))
                Sheet 1



                                           United States District Court
                           SOUTHERN                                      District of                                  OHIO (Cincinnati)
           UNITED STATES OF AMERICA                                                  AMENDED JUDGMENT IN A CRIMINAL CASE
                                 V.
                                                                                     Case Number:                     l:12cr043-l
                             Tracy Bias
                                                                                     USM Number:                      70248-061
Date of Original Judgment: June 13,2014                                              John Keller, Esq./Peter Link, Esq.
(Or Date of Last Amended Judgment)                                                   Defendant's Attorney

Reason for Amendment:
• Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and(2))                     D Modification of Supervision Conditions (18U.S.C. §§3563(c) or3583(e))
Q Reduction of Sentence forChanged Circumstances (Fed. R.Crim.                       D Modification of Imposed Term of Imprisonment forExtraordinary and
    P. 35(b))                                                                            Compelling Reasons (18 U.S.C. § 3582(c)(1))
•   Correction ofSentence bySentencing Court (Fed. R.Crim. P.35(a))                  •   Modification oflmposed Term of Imprisonment for Retroactive Amendment(s)
X Correction ofSentence for Clerical Mistake (Fed. R. Crim. P. 36)                       to the SentencingGuidelines(18 U.S.C. § 3582(c)(2))
                                                                                     D Direct Motion to District Court Pursuant •      28 U.S.C. § 2255 or
                                                                                         •   18 U.S.C. § 3559(c)(7)
                                                                                     D Modification of Restitution Order (18 U.S.C. § 3664)

THE DEFENDANT:
X    pleaded guiltyto count(s) 1 of the Superseding Indictment
•    pleaded nolo contendere to count(s)
     which was accepted by the court.
•    was found guilty on count(s)
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                       Nature of Offense                                                                Offense Ended                  Count
21 USC841 (a)(1) and                  Conspiracy to Distribute and dispense a Controlled Substance                    6/12/2011




        The defendant is sentenced as provided in pages 2                        7              of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
•    The defendant has been found notguilty oncount(s)
X    Count(s)             2-12 of S. tad & 1-12 of Ind        Q is X are dismissed on the motion of the United States.
           It isordered thatthedefendant mustnotify theUnited States Attorney forthisdistrict within 30 days of anychange ofname, residence,
ormailing address until allfines, restitution, costs, and special assessments imposed bythisjudgment are fully paid, ifordered topay restitution,
the defendant mustnotify the courtand United States attorney of material changes in economic circumstances.
                                                                        May21,2014
                                                                                     Date of Imposition of Judgment


                                                                                     <&
                                                                                     Signature ofJudge
                                                                                     Michael R. Barrett United States District Judge
                                                                                     Name and Title ofJudge
AO 24SC       Case:
           (Rev.         1:12-cr-00043-MRB
                 09/11) Amended                      Doc
                                Judgmentin a CriminalCase   #: 262 Filed: 06/23/14 Page: 2 of 7 PAGEID #: 2304
           Sheet 2-Imprisonment                                                                (NOTE: Identify Changes with Asterisks ('))
                                                                                                    Judgment — Page   2    of        7_
DEFENDANT:                 Tracy Bias
CASE NUMBER:               l:12cr043-l


                                                            IMPRISONMENT

      The defendant is hereby committed to the custody ofthe United States Bureauof Prisonsto be imprisoned for a
total term of:

Count 1 of S. Ind: One hundred sixty-eight (168) months BOP custody



X      The court makes the following recommendations to the Bureau of Prisons:
       The defendant be placed in a BOP facility nearestthe Southern DistrictofOhio




D      The defendant is remanded to the custody of the United States Marshal.

D      The defendant shall surrender to the United States Marshal for this district:

       •     at                                 •     a.m.       •    p.m.      on
       D     as notified by the United States Marshal.

X      The defendant shall surrender for service of sentence atthe institution designated by the Bureau of Prisons:
       •     before 2 p.m. on                                            .
       X as notified by the United States Marshal, bu* nc*- &•£**• 1|l5|aoiM
       D     as notified by the Probation or Pretrial Services Office.


                                                                  RETURN

I have executed this judgment as follows:




       Defendant delivered on                                                         to

at                                                    with a certified copy ofthis judgment.




                                                                                                  UNITED STATES MARSHAL




                                                                         By
                                                                                               DEPUTY UNITED STATES MARSHAL
A0245C           Case:
              (Rev.         1:12-cr-00043-MRB
                    09/11) Amended                      Doc
                                   Judgmentin a CriminalCase   #: 262 Filed: 06/23/14 Page: 3 of 7 PAGEID #: 2305
              Sheet 3—Supervised Release                                                                   (NOTE: Identify Changes with Asterisks (»))
                                                                                                        Judgment—Page        3      of         7_
DEFENDANT:                   Tracy Bias
CASE NUMBER:                 l:12cr043-l
                                                        SUPERVISED RELEASE

Upon release from imprisonment, thedefendant shall be on supervised release for a term of:
Count 1 of S. Ind: ten (10) yearrs




            The defendant mustreportto the probationofficein the districtto whichthe defendant is releasedwithin 72 hoursof releasefrom the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within IS days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
Q        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substanceabuse. (Check, if applicable.)
X        The defendant shallnot possess a firearm, ammunition, destructive device, or any otherdangerous weapon. (Check, if applicable.)
X        The defendant shallcooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
D        Thedefendant shall register with the state sexoffender registration agency in thestatewhere the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
D        The defendant shallparticipate in an approved program for domestic violence. (Check, if applicable.)
        If thisjudgment imposes a fine or restitution, it is a condition of supervised release thatthe defendant pay in accordance withthe
Scheduleof Paymentssheet of thisjudgment.
            Thedefendant mustcomply with thestandard conditions thathave been adopted bythiscourt aswell aswithanyadditional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION

    1) thedefendant shall not leave thejudicial district without the permission of the court or probation officer;
    2)    thedefendant shall report to theprobation officer in a manner and frequency directed bythecourt or probation officer;
    3)    thedefendant shall answer truthfully all inquiries by theprobation officer and follow the instructions oftheprobation officer;
    4)    the defendant shallsupport his or her dependents andmeetotherfamily responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6) thedefendant shall notify theprobation officer at least tendays priorto any change inresidence or employment;
    7) thedefendant shall refrain from excessive use of alcohol and shall notpurchase, possess, use, distribute, or administer any
       controlled substance or anyparaphernalia related to anycontrolled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substancesare illegallysold, used, distributed, or administered;
    9)    the defendant shallnot associate withanypersons engaged in criminal activity and shallnot associate withanyperson convicted of a
          felony, unless granted permission to do so by the probation officer;
 10) the defendant shallpermita probation officerto visithimor herat anytimeat home or elsewhere and shallpermit confiscation of any
     contraband observed in plain view of the probation officer;
 11)      the defendantshall notify the probationofficer withinseventy-two hours of being arrestedor questionedby a law enforcementofficer;
 12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendantshall notify third parties of risks that may be occasionedby the defendant's criminal
          record, personal history, or characteristicsand shall permit the probation officerto make such notifications and confirm the defendant's
          compliance with such notification requirement.
AO 245C     Case:
          (Rev.        1:12-cr-00043-MRB
                09/11) AmendedJudgment in a Criminal Doc
                                                     Case   #: 262 Filed: 06/23/14 Page: 4 of 7 PAGEID #: 2306
          Sheet 3A —Supervised Release                                                         (NOTE: Identify Changes with Asterisks (»))
                                                                                                    Judgment—Page     4     of      7
DEFENDANT:              Tracy Bias
CASE NUMBER:             l:12cr043-l


                                  ADDITIONAL SUPERVISED RELEASE TERMS

1. The defendant shall participate in a program of evaluation and/or treatment for substance abuse and/or alcohol,
at the direction of the probation officer.
2. The defendant shall participate in a program of evaluation and/or treatment for mental health issues, at the direction of the
probation officer.
A0 245C      Case:
          (Rev.        1:12-cr-00043-MRB
                09/11) AmendedJudgment in a Criminal Doc
                                                     Case   #: 262 Filed: 06/23/14 Page: 5 of 7 PAGEID #: 2307
          Sheet 5-Criminal Monetary Penalties                                                  (NOTE: Identify Changes with Asterisks (»))
                                                                                                     Judgment— Page        S   of      7.
DEFENDANT:                     Tracy Bias
CASE NUMBER:                    l:12cr043-l
                                          CRIMINAL MONETARY PENALTIES

    The defendant mustpay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                    Assessment                                             Fine                              Restitution
TOTALS           $ 100.00                                          $       2,500.00                      $


D The determination of restitution isdeferred until                . AnAmendedJudgment in a Criminal Case (AO 245C) will be
    entered after such determination.


D   The defendant shall make restitution (including community restitution)to the following payees in the amount listed below.

    If thedefendant makes apartial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order orpercentage payment column below. However, pursuant to 18 U.S.C §3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Pavee                             Total Loss*                              Restitution Ordered                Priority or Percentage




TOTALS



D    Restitution amount ordered pursuant to pleaagreement S

D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after thedate of thejudgment, pursuant to 18 U.S.C. §3612(f). All ofthe payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D    The court determinedthat the defendant does not have the abilityto pay interest, and it is orderedthat:
     D the interest requirement is waived for         •     fine       •     restitution.

     D the interest requirement for the         •   fine      •    restitution is modified as follows:



* Findings forthe total amount oflosses are required under Chapters I09A, 110,110A, and 113A ofTitle 18 foroffenses committed on or after
September 13, 1994, but before April 23, 1996.
A0 245C         Case:
              (Rev.       1:12-cr-00043-MRB
                    09/11)Amended Judgment in a Criminal Doc
                                                         Case   #: 262 Filed: 06/23/14 Page: 6 of 7 PAGEID #: 2308
              Sheet 6—Schedule of Payments                                                         (NOTE: Identify Changes with Asterisks (»))
                                                                                                        Judgment — Page      6     of        7
DEFENDANT:                   Tracy Bias
CASE NUMBER:                 l:12cr043-l


                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:
A    X    Lump sum paymentof$               2,600.00             due immediately, balance due

          •      not later than                                      ,or
          X      in accordance with     •     C,   Q    D,      X    E, or   X F below; or

B    •    Payment to begin immediately (may be combined with                 QC,       • D, or    • F below); or

C    D    Payment in equal                    (e.g., weekly,monthly, quarterly) installments of $                      over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date ofthis judgment; or

D    •    Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                       (e.g., monthsor years), to commence                  (e.g., 30 or 60 days) afterrelease from imprisonment to a
          term of supervision; or

E    X    Payment during the term of supervised release will commencewithin        30      (e.g., 30 or 60 days) afterrelease from
          imprisonment. The court will set the payment plan based on an assessmentofthe defendant's ability to pay at that time; or

F    X    Special instructions regarding the paymentofcriminal monetary penalties:
          The Defendant shall pay $25 per quarter while incarcerated if he is working in a NON-UN ICORjob. If the Defendant is working
          in a grade one to four UNICOR job, he shall pay50% ofhis monthlypaytoward his fine obligation.




Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties isdue during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk ofthe court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and corresponding
     payee, if appropriate.




•    The defendant shall paythe costof prosecution.

D    The defendant shallpay the following courtcost(s):

X    The defendant shall forfeit the defendant's interest in the following property to theUnited States:
     See page 7.



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including costof prosecution and court costs.
AO 245C       Case:
            (Rev.        1:12-cr-00043-MRB
                  09/11) Amended                      Doc
                                 Judgmentin a CriminalCase   #: 262 Filed: 06/23/14 Page: 7 of 7 PAGEID #: 2309
            Sheet 6B —Schedule ofPayments                                                     (NOTE: Identify Changes with Asterisks (»))
                                                                                            Judgment—Page       7      of         7
DEFENDANT:                Tracy Bias
CASE NUMBER:              l:12cr043-l


                                            ADDITIONAL FORFEITED PROPERTY

Contents of Woodforest Bank Account No. xxx0017 in the Tracy Bias of Southern Ohio Complete Pain Management
c/o Tracy Bias at Woodforest National Bank. The value is Forty-Three Thousand Nine Hundred Ninety-Seven Dollars
and Ninety-Seven Cents ($43,997.97);
A 2007 Chevrolet TrailBlazer, VIN 1GNDS13S772275112, with all attachments thereon;
A 2005 Toyota Camry, VIN 4T1BF30K85U109439, with all attachments thereon;
A 2005 Ford F150 Pickup VIN 1FTRF04W95KC01217, with all attachments thereon;
♦Two      Thousand Three Hundred Fifty-Eight Dollars and Forty Cents ($2,358.40) in United States Currency; and
Three Thousand Two Hundred and One Dollars and Eighty Cents ($3,201.80) in United States Currency.
